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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI


                       ORDER ASSIGNING RELATED CASES

       IN ACCORDANCE with (1) Section IX, Paragraph D of this Court’s Internal

Rule 1, as amended effective April 1, 2018, and (2) that certain Order [44] entered in

Securities and Exchange Commission v. Arthur Lamar Adams, Case No. 3:18-cv-

00252 CWR-FKB on the docket of this Court, the undersigned orders that all future

cases filed by the duly appointed Receiver in said case or which otherwise arise out of

or relate to said case shall be directly assigned by the Clerk of Court to U. S. District

Judge Carlton W. Reeves and U. S. Magistrate Judge F. Keith Ball.

       IT IS FURTHER ORDERED that the Receiver or any other party or attorneys

filing such a related case shall (1) note on the civil cover sheet that the new case is

related to Case No. 3:18-cv-00252 CWR-FKB, and (2) file, contemporaneously with

the complaint or other initiating pleading, a notice setting forth that the case filed or

proposed to be filed is, in fact, related to said matter.

       SO ORDERED AND ADJUDGED this 20th day of September, 2018.

                                   s/ Daniel P. Jordan III
                                   CHIEF UNITED STATES DISTRICT JUDGE
